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                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA

  SONY MUSIC ENTERTAINMENT, et al.,

                 Plaintiffs,

         v.                                                Case No. 1:18-cv-00950-LO-JFA

  COX COMMUNICATIONS, INC., et al.,

                 Defendants.



 MEMORANDUM IN SUPPORT OF THE PARTIES’ CONSENT MOTION TO EXCEED
        PAGE LIMIT FOR REPLY MEMORANDA IN SUPPORT OF
                MOTIONS FOR SUMMARY JUDGMENT

                                         Hearing Waived

        Pursuant to Local Rule 7(F)(3), the parties jointly respectfully request that this Court allow

 them to exceed the twenty (20) page limit set forth in the Local Rules for their response memoranda

 in opposition to the parties’ motions for summary judgment, and to each file a thirty (30) page

 reply brief. As explained herein, good cause exists for granting the parties’ request. The parties

 waive oral argument on the parties’ joint motion.

                                           ARGUMENT

        On August 26 and September 20, 2019, this Court issued orders granting the parties’

 motions to file forty (40) page briefs in support of and opposition to their respective motions for

 summary judgment (ECF Nos. 267, 268, 320). Defendants and Plaintiffs have conferred and

 agreed that an additional 10 pages is necessary to adequately reply to the parties’ respective

 opposition arguments in further support of their motions for summary judgment. A limited

 expansion of the page limit for the parties’ response memoranda will facilitate the Court’s review
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 of these motions, and is necessary in order for the parties to adequately respond to the arguments

 set forth in their 40-page opposition memoranda.



 Dated: October 8, 2019                              Respectfully submitted,

                                                     /s/ Scott A. Zebrak
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